Case 2:04-CV-02056-SHI\/|-tmp Document 44 Filed 06/06/05 Page 1 of 2 Page|D 56

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IN THE UNITED sTATES DISTRICT COURT ‘ \~» -»-

FOR THE WESTERN DISTRICT OF TENNESSEE

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MILDRED MINNIS and ARACIA PARKER
On behalf of themselves and as Representatives

of a Class of all others similarly situated,
Plaintiffs,

VS. NO. 04-2056-Ma/P

CITY OF MEMPHIS, COUNTY OF SHELBY,
STATE OF TENNESSEE, MEMPHIS HOUSING
AUTHORITY, MEMPHIS LIGHT, GAS & WATER,
SHELBY COUNTY ASSESSOR, SHELBY COUNTY
TRUSTEE and the STATE OF TENNESSEE,

Dei"endants,

 

ORDER GRANTING LEAVE TO FILE REPLY MEMORANDUM

 

Before the court is the May 26, 2005 motion by Defendant City of Memphis to file a
reply to P]aintiffs’ Response to Motion to Dismiss. F or good cause shown, the motion is granted
and the reply attached to Defendant City of Memphis’ motion for leave to file reply Shall be
deemed filed as of the date of entry of this order.

tr is so oRDERED this :M day ofJune, 2005.

w JA//~w_=_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Tt)is document entered on the docket sheet ln compliance
with Rule 58 and/or 79(3) mcp On 1 ~¢,'P_§’

 

June 7, 2005 to the parties listed.

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:04-CV-02056 Was distributed by faX, mail, or direct printing on

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Honcrable Sarnuel Mays
US DISTRICT COURT

